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                                                                                                   Southern District
Federal Defenders                                                                           81 Main Street, Suite 300
OF NEW YORK ., I N C.                                                                        White Plains, N.Y. 10601
                                                                              Tel: (914) 428--~24 Fax: (914) 997-6872


                                                                                                       Susanne Brody
David E. Patton                                                                                        ~-In-Charge
 Encw:iw Direcwr                                                                                         Mu Plains
and Attt1r11iry-in-Chief
                                                                         October 14, 2020
The Honorable Kenneth M . Karas
United States District Court
Southern District of New York
300 Quarropas Street
White Plains, New York 10601

           Re:        United States v . Jimenez, et al, 19 Cr 856 (KMK)

Dear Honorable Karas:

       I represent Martin Dejesus Reyes-Maria in the above referenced case. I am
writing to ask that you temporarily mo · the terms of Mr. Re es-Maria's release
to allow him to go to the hospital                                . As detailed in the
attached letter, Mr. Reyes-Maria's             is aving surgery on F r i d a ~ r
16, 2020 at Columbia University . e ·ca enter. The hope is that h i s - w i l l
be released shortly after the surgery, but there is a chance that    will be admitted
if complications arise. Under these circumstances, I ask that you please modify the
                                                                                        •
terms of Mr. Reyes-Maria's release (home incarceration) to allow h i m o-to  othe
                              1
hospital on October 16, 2020. In the event that Mr. Reyes-Maria's              is
admitted to the hospital, I ask that he be allowed to make daytime visits to t e
hospital, to be preapp:roved by pretrial services.

           I have communicated with pretrial officer Ashley Cosme and she does not
object to this request. Similarly, AUSA James Ligtenberg does not object.
       Granted.
                                                                         Sincerely,
       So Ordered.


    ~~                                                                  13--G
                                                                         Benjamin Gold

cc:        AUSA James Ligtenberg (via e-mail and ECF)
           Intensive Supervision Officer Ashley L. Cosme (via e-mail)




1   I am not asking that Mr. Reyes-Maria be permitted to spend the night at the hospital.
